

People v Montgomery (2022 NY Slip Op 02692)





People v Montgomery


2022 NY Slip Op 02692


Decided on April 22, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 22, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, LINDLEY, CURRAN, AND BANNISTER, JJ.


303 KA 20-01439

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vJOSEPH MONTGOMERY, DEFENDANT-APPELLANT. (APPEAL NO. 2.) 






FRANK H. HISCOCK LEGAL AID SOCIETY, SYRACUSE (ERIC SUN OF COUNSEL), FOR DEFENDANT-APPELLANT.
WILLIAM J. FITZPATRICK, DISTRICT ATTORNEY, SYRACUSE (KAITLYN M. GUPTILL OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Onondaga County Court (Thomas J. Miller, J.), rendered August 13, 2020. The judgment convicted defendant, upon his plea of guilty, of assault in the second degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Same memorandum as in People v Montgomery ([appeal No. 1] — AD3d — [Apr. 22, 2022] [4th Dept 2022]).
Entered: April 22, 2022
Ann Dillon Flynn
Clerk of the Court








